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                                      UNITED STATES DISTRICT
                                          COURT FOR THE
                                       SOUTHERN DISTRICT OF
                                             FLORIDA

                                                  CASE NO.:


  WINDY LUCIUS,

                   Plaintiff,

  v.


  ZV NY, Inc., d/b/a
  Zadig et Voltaire,

                   Defendant.


  __________________________________/


                                           COMPLAINT FOR
                                            DAMAGES AND
                                         INJUNCTIVE RELIEF

              Comes now Windy Lucius, (“Plaintiff”) by and through her undersigned counsel,

       hereby files this complaint and sues Defendant, ZV NY, Inc., d/b/a ZADIG ET

       VOLTAIRE, a foreign corporation doing business in Florida and alleges as follows:

                                            INTRODUCTION

              1.      Plaintiff Windy Lucius brings this action individually and on behalf of all

       others similarly situated against ZADIG ET VOLTAIRE (“Defendant”), alleging violations

       of Title III of the Americans with Disabilities Act, 42 U.S.C. § 12101 et seq., (hereinafter,

       “ADA”).


              2.      Plaintiff is a blind individual. She is young, social and involved. She has
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    been blind for the past nine years. She uses the internet to help her navigate a world of

    goods, products and services like the sighted. She brings this action against Defendant

    for offering and maintaining an internet website that is not fully accessible and

    independently usable by visually impaired consumers. The website at issue is

    https://us.zadig-et-voltaire.com (hereinafter, “website”).

           3.       Defendant offers its website to the general public from which it sells mens,

    and women’s clothing, fragrances and accessories. As such, it has subjected itself to the

    ADA. Defendant’s website is offered as a tool to promote, advertise and sell clothing,

    fragrances, and accessories from its brick and mortar stores, which are places of public

    accommodation. As a result, the website must interact with Defendant’s stores and the public,

    and in doing so must comply with the ADA, which means it must not discriminate against

    individuals with disabilities and may not deny full and equal enjoyment of the goods and

    services afforded to the general public.

           4.      Blind and visually impaired consumers must use screen reading software or

    other assistive technologies in order to access website content. Defendant’s website,

    however, contains digital barriers which limit the ability of blind and visually impaired

    consumers to access it.

           5.      Defendant’s website does not properly interact with screen reader software

    in a manner that will allow the blind and visually impaired to enjoy the website, nor does it

    provide other means to accommodate the blind and visually impaired.

           6.      Plaintiff has patronized Defendant’s website in the past and intends to continue

    to patronize Defendant’s website.      She would like to be able to pre-shop Defendant’s

    merchandise before going to Defendant’s brick and mortar location. However, unless
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    Defendant is required to eliminate the access barriers at issue and required to change its

    policies so that access barriers do not reoccur on Defendant’s website, Plaintiff will continue

    to be denied full and equal access to the website as described and will be deterred from fully

    using Defendant’s website or shopping at the physical locations.

           7.      The ADA expressly contemplates the type of injunctive relief that Plaintiff

    seeks in this action. The ADA provides, in part:

           [i]n the case of violations of . . . this title, injunctive relief shall include an order
           to alter facilities to make such facilities readily accessible to and usable by
           individuals with disabilities . . . Where appropriate, injunctive relief shall also
           include requiring the . . . modification of a policy . . .

    42 U.S.C. § 12188(a)(2).

           8.      Therefore, Plaintiff seeks a declaration that Defendant’s website violates

    federal law as described and an injunction requiring Defendant to modify its website so that

    it is fully accessible to, and independently usable by, blind or visually impaired individuals.

    Plaintiff further requests that the Court retain jurisdiction of this matter for a period to be

    determined to ensure that Defendant comes into compliance with the requirements of the

    ADA and to ensure that Defendant has adopted and is following an institutional policy that

    will, in fact, cause Defendant’s website to remain in compliance with the law.

                                    JURISDICTION AND VENUE

           9.      This Court has federal question jurisdiction pursuant to 28 U.S.C. §1331 and 42

    U.S.C. § 12188.

           10.     Plaintiff’s claims asserted herein arose in this judicial district and Defendant

    does substantial business in this judicial district where it has at least one physical location.

           11.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(1) and (2)

    in that this is the judicial district in which Defendant resides, and in which a substantial part
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    of the acts and omissions giving rise to the claims occurred.

            12.     This Court has personal jurisdiction over ZADIG ET VOLTAIRE pursuant

    to, inter alia, Florida’s long arm statute F.S. § 48.193, in that Defendant: (a) operates,

    conducts, engages in, and/or carries on a business or business ventures (s) in Florida and/or

    has an office or agency in Florida; (b) has committed one or more tortious acts within

    Florida; (c) was and/or is engaged in substantial and not isolated activity within Florida;

    and/or (d) has purposely availed itself of Florida’s laws, services and/or benefits and

    therefore should reasonably anticipate being hailed into one or more of the courts within the

    State of Florida.

                                                PARTIES

            13.     Plaintiff, Windy Lucius, is and, at all times relevant hereto, was a resident of

    the State of Florida. Plaintiff is and, at all times relevant hereto, has been legally blind and is

    therefore a member of a protected class under the ADA, 42 U.S.C. § 12102(2) and the

    regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq.

            14.     Defendant ZADIG ET VOLTAIRE. owns, operates and maintains a store

    called ZADIG ET VOLTAIRE in Miami Beach, Florida. Defendant’s store sells men and

    women’s clothing, fragrances, and accessories to the public. Defendant also offers those

    items to the public through its website. Defendant’s store and accompanying website work

    collectively and are public accommodations pursuant to 42 U.S.C. § 12181(7)(E).

                                                 FACTS

            15.     Defendant owns, operates and controls an internet website known as

    https://us.zadig-et-voltaire.com from which it sells mens and women’s clothing, fragrances

    and accessories. They sell that same clothing from their corresponding brick and mortar
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    stores. Defendant’s website also helps users locate stores, view pricing and specials, shop for

    women’s clothing and accessories, and a variety of other functions. Plaintiff has shopped

    with Defendant and enjoys the clothing that it sells for women.

           16.     Defendant’s website is a nexus to a place of public accommodation pursuant

    to 42 U.S.C. § 12181(7)(E). Therefore, under the ADA, Defendant must ensure that

    individuals with disabilities have access to full and equal enjoyment of the goods and

    services offered on its website.

           17.     Blind and visually impaired individuals may access websites by using

    keyboards in conjunction with screen reader software that converts text to audio. Screen

    reader software provides the primary method by which a visually impaired person may

    independently use the internet. Unless the website is designed to be accessed with screen

    reader software, visually impaired individuals are unable to fully access website and the

    information, products, and services available through the website.

           18.     The international website standards organization, W3C, has published WCAG

    2.0 AA (Version 2.0 of the Web Content Accessibility Guidelines). WCAG 2.0 AA provides

    widely accepted guidelines for making websites accessible to individuals with disabilities and

    compatible with screen reader software. These guidelines have been endorsed by the United

    States Department of Justice and numerous U.S. District Courts.

           19.     Plaintiff is legally blind and uses JAWS screen reader software

    (hereinafter, “Plaintiff’s software”) in order to access website content. Plaintiff’s software

    is the most popular screen reader software utilized worldwide by visually impaired

    individuals.

           20.     Despite several attempts, Defendant’s website did not integrate with
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    Plaintiff’s software, nor was there any function within the website to permit access for

    visually impaired individuals through other means. Her shopping attempts were rendered

    futile because the website was inaccessible. Therefore, Plaintiff was denied the full use

    and enjoyment of the goods and services available on Defendant’s website as a result of

    access barriers on the website.

           21.     Defendant’s website does not meet the WCAG 2.0 AA level of accessibility.

           22.     By failing to adequately design and program its website to accurately and

    sufficiently integrate with popular commercially available screen reader software, Defendant

    has discriminated against Plaintiff and others with visual impairments on the basis of a

    disability by denying them full and equal enjoyment of the website, in violation of 42 U.S.C.

    § 12182(a) and C.F.R. § 36.201.


           23.     As a result of Defendant’s discrimination, Plaintiff was unable to use

    Defendant’s website and suffered an injury in fact including loss of dignity, mental anguish

    and other tangible injuries.

           24.     The barriers at the website have caused a denial of Plaintiff’s full and equal

    access multiple times in the past, and now deter Plaintiff from attempting to use Defendant’s

    website.

           25.     If Defendant’s website were accessible, Plaintiff could independently

    research, review and purchase clothing and accessories from Defendant’s stores online, as

    well as utilize the other functions on the website.

           26.     Plaintiff believes that although Defendant may have centralized policies

    regarding the maintenance and operation of its website, Defendant has never had a plan

    or policy that is reasonable calculated to make its website fully accessible to, and
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    independently usable by, people with visual impairments.

           27.      Without injunctive relief, Plaintiff and other visually impaired individuals will

    continue to be unable to independently use Defendant’s website in violation of their rights

    under the ADA.

                                          SUBSTANTIVE VIOLATION

                                 (Title III of the ADA, 42 U.S.C. § 12181 et seq.)

           28.      The allegations contained in the previous paragraphs are incorporated

    by reference.

           29.      Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides:

    “No individual shall be discriminated against on the basis of a disability in the full and equal

    enjoyment the goods, facilities, privileges, advantages or accommodations of any place of

    public accommodation by any person who owns, leases (or leases to), or operates a place of

    public accommodation.” 42 U.S.C. § 12182(a).

           30.      Defendant’s stores and accompanying website are public accommodations

    within the definition of Title III of the ADA, 42 U.S.C. § 12181(7)(E).

           31.      Under Section 302(b)(2) of Title III of the ADA, it is unlawful

    discrimination to deny individuals with disabilities the opportunity to participate in or

    benefit from the goods, services, facilities, privileges, advantages or accommodations of

    an entity. 42 U.S.C. § 12182(b)(1)(A)(i).

           32.      Under Section 302(b)(2) of Title III of the ADA, it is unlawful discrimination

    to deny individuals with disabilities the opportunity to participate in or benefit from the goods,

    services, facilities, privileges, advantages or accommodations, which is equal to the

    opportunities afforded to other individuals. 42 U.S.C. § 12182(b)(1)(A)(ii).
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           33.     Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination

    also includes, among other things:

           a failure to make reasonable modifications in policies, practices or procedures, when
           such modifications are necessary to afford such goods, services, facilities, privileges,
           advantages or accommodations to individuals with disabilities, unless the entity can
           demonstrate that making such modifications would fundamentally alter the nature of
           such goods, services, facilities, privileges, advantages or accommodations; and a
           failure to take such steps as may be necessary to ensure that no individual with a
           disability is excluded, denied services, segregated or otherwise treated differently than
           other individuals because of the absence of auxiliary aids and services, unless the entity
           can demonstrate that taking such steps would fundamentally alter the nature of good,
           service, facility, privilege, advantage or accommodation being offered or would result
           in an undue burden.

    42 U.S.C. § 12182(b)(2)(A)(ii) (iii); see also 28 C.F.R. § 36.303(a).

           34.     Title III requires that “[a] public accommodation shall furnish appropriate

    auxiliary aids and services where necessary to ensure effective communication with

    individuals with disabilities.” 28 C.F.R. § 36.303(c)(1). The regulations set forth numerous

    examples of “auxiliary aids and services,” including “…accessible electronic and

    information technology; or other effective methods of making visually delivered materials

    available to individuals who are blind or have low vision.” 28 C.F.R. § 36.303(b).

           35.     The acts alleged herein constitute violations of Title III of the ADA, and the

    regulations promulgated thereunder. Plaintiff, who is legally blind and has a disability that

    substantially limits the major life activity of seeing within the meaning of 42 U.S.C. §§

    12102(1)(A) and (2)(A), has been denied full and equal access to Defendant’s website.

    Plaintiff has not been afforded the goods, services, privileges and advantages that are

    provided to other patrons who are not disabled, and/or has been provided goods, services,

    privileges and advantages that are inferior to those provided to non-disabled persons. These

    violations are ongoing as Defendant has failed to make any prompt and equitable changes to
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    its website and policies in order to remedy its discriminatory conduct.

           36.     Pursuant to 42 U.S.C. 12188 and the remedies, procedures and rights set forth

    and incorporated therein, Plaintiff, on behalf of herself and on behalf of others similarly

    situated requests relief as set forth below.

                                     PRAYER FOR RELIEF

           WHEREFORE, Plaintiff, on behalf of herself and others similarly situated prays for:

           a.      A Declaratory Judgment that at the commencement of this action Defendant
                   was in violation of the specific requirements of Title III of the ADA described
                   above, and the relevant implementing regulations of the ADA, in that
                   Defendant took no action that was reasonably calculated to ensure that its
                   website is fully accessible to, and independently usable by, blind individuals;

           b.      A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
                   36.504 (a) which directs Defendant to take all steps necessary to brings its
                   website into full compliance with the requirements set forth in the ADA, and
                   its implementing regulations, so that its website is fully accessible to, and
                   independently usable by, blind individuals, and which further directs that the
                   Court shall retain jurisdiction for a period to be determined to ensure that
                   Defendant has adopted and is following an institutional policy that will in fact
                   cause Defendant to remain fully in compliance with the law;

           c.      Payment of costs of suit;

           d.      Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28
                   CFR § 36.505; and,

           e.      The provision of whatever other relief the Court deems just, equitable
                   and appropriate.



                                                   Respectfully submitted,

                                                   /s/ J. Courtney Cunningham
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